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                          Exhibit 7
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                             LGI Homes
              2022 New Home Consultant Compensation Plan


       Standard: 20 closed units or $6 million in volume per year (based on calendar year)



            Commission %                               2. 5%                      2.0%


              Sales Price                     $0-$499, 900k            $500k+ and Califo rnia




                 Commission structure paid on al l closed soles within a calendar year

                                 Units                       Bonus
                                 20 Units                $ 5,000.00
                                 25 Units                $ 10,000.00
                                 30 Units                $15,000.00
                                 35 Units                $17,500.00
                                 40 Units                $20,000.00
                                 45 Units                $22,500.00
                                 50 Units                $25,000.00
                                 60 Units                $30,000.00



       Examples              25 closed units wil l be paid a total of $ 15,000.00 in bonuses

                             40 closed units will be paid a total of $67,500.00 in bonuses

                             60 closed units will be paid a total of $ 145,000.00 in bonuses




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